         Case 1:14-cr-00189-DAD-BAM Document 46 Filed 10/14/14 Page 1 of 3


1    BENJAMIN B. WAGNER
     United States Attorney
2    MICHAEL G. TIERNEY
     Assistant U.S. Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    (559) 497-4000
5

6

7

8
                        IN THE UNITED STATES DISTRICT COURT
9
                           EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          )
                                        )   CASE NO.   1:14-CR-00189-AWI-BAM
12                   Plaintiff,         )
                                        )
13        v.                            )
                                        )   STIPULATION AND PROTECTIVE ORDER
14   ANTHONY POLLINO, JR.,              )   BETWEEN THE UNITED STATES AND
                                        )   DEFENDANT ANTHONY POLLINO, JR.
15                   Defendants.        )
                                        )
16                                      )
                                        )
17                                      )
18
19       WHEREAS, the discovery in this case contains a large amount of

20   personal information including but not limited to Social Security

21   numbers, dates of birth, financial accounts, residential addresses and

22   other personal information (“Protected Information”); and

23       WHEREAS, the parties desire to avoid both the necessity of large

24   scale redactions and the unauthorized disclosure or dissemination of

25   this information to anyone not a party to the court proceedings in

26   this matter;

27       The parties agree that entry of a stipulated protective order is

28   appropriate.

29                                          1
30
         Case 1:14-cr-00189-DAD-BAM Document 46 Filed 10/14/14 Page 2 of 3


1        THEREFORE, defendants ANTHONY POLLINO, JR., by and through his

2    counsel of record (“Defense Counsel”), and plaintiff the United States

3    of America, by and through its counsel of record, hereby agree and

4    stipulate as follows:

5        1.      This Court may enter protective orders pursuant to Rule

6    16(d) of the Federal Rules of Criminal Procedure, and its general

7    supervisory authority.

8        2.      This Order pertains to all discovery provided to or made

9    available to Defense Counsel as part of discovery in this case

10   (hereafter, collectively known as “the discovery”).

11       3.      By signing this Stipulation and Protective Order, Defense

12   Counsel agrees not to share any documents that contain Protected

13   Information with anyone other than Defense Counsel and designated

14   defense investigators and support staff.       Defense Counsel may permit

15   the defendants to view unredacted documents in the presence of their

16   attorney, defense investigators, and support staff.         The parties agree

17   that Defense Counsel, defense investigators, and support staff shall

18   not allow the defendants to copy Protected Information contained in

19   the discovery.    The parties agree that Defense Counsel, defense

20   investigators, and support staff may provide the defendants with

21   copies of documents from which Protected Information has been

22   redacted.

23       4.      The discovery and information therein may be used only in

24   connection with the litigation of this case and for no other purpose.

25   The discovery is now and will forever remain the property of the

26   United States Government.     Defense Counsel will return the discovery

27   to the Government or certify that it has been destroyed at the

28   conclusion of the case.

29                                          2
30
          Case 1:14-cr-00189-DAD-BAM Document 46 Filed 10/14/14 Page 3 of 3


1          5.    Defense Counsel will store the discovery in a secure place

2    and will use reasonable care to ensure that it is not disclosed to

3    third persons in violation of this agreement.

4          6.    Defense Counsel shall be responsible for advising each

5    defendant, as well as Defense Counsel’s employees, other members of

6    the defense team, and defense witnesses, of the contents of this

7    Stipulation and Order.

8          7.    In the event that the either defendant substitutes counsel,

9    undersigned Defense Counsel agrees to withhold discovery from any new

10   counsel unless and until substituted counsel agrees also to be bound

11   by this Order.

12

13         IT IS SO STIPULATED.

14
     DATED: October 10, 2014                 By: /s/ Michael Joseph Aed
15                                           MICHAEL JOSEPH AED
                                             Attorney for Defendant
16                                           ANTHONY POLLINO, JR.
17

18
     DATED: October 10, 2014                 BENJAMIN B. WAGNER
19                                           United States Attorney

20
                                        By: /s/ Michael G. Tierney_
21                                          MICHAEL G. TIERNEY
22                                          Assistant U.S. Attorney

23
     IT IS SO ORDERED.
24
     Dated: October 14, 2014
25                                    SENIOR DISTRICT JUDGE
26
27

28

29                                           3
30
